 

16SL-CC00904

IN THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS
STATE OF MISSOURI

NATIONAL GREEN GAS, L.L.C., a limited
liability company,

Plaintiff,
vs.

ESTRATEGY, INC., a corporation, d/b/a
ONE SALUTE,

Defendant.

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} Division No.
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REGISTRATION OF FOREIGN JUDGMENT PURSUANT TO RULE 74.14

COMES NOW Plaintiff and pursuant to Rule 74.14 registers the attached Judgment

entered in the Circuit Court of the County of Fairfax, Commonwealth of Virginia, on November 20,

2015, in the sum of $453,349.25.

The last known address of Plaintiff is C/O Vogler & Associates, LLC, 11756 Borman Drive,

Suite 200, St. Louis, MO 63146.

The last known address of Defendant is 1600 Swift Avenue, Suite 100, North Kansas City,

MO 64116.

By:

VOGLER & ASSOCIATES, LLC

VINCENT D. VOGLER (M.B.E. #25030)
DOUGLAS J. CLEVELAND (M.B.E. #67096)
Attorneys for Plaintiff

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P.O, Box 419037

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EXHIBIT

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The undersigned hereby certifies that the above allegations are true an

knowledge, information and belief.

Subscribed and sworn to before me on this day of Matel ;

My commission expires:

A copy of the foregoing Registration of Foreign Judgment and attached Foreign Judgment
were mailed via first-class pat, postage prepaid to 1600 Swift Avenue, Suite 100, North Kansas

 

DOUGLAS). CLEVELAND

LAP wf

AMotaryPublic

CERTIFICATE OF SERVICE

City, MO 64116, on this 4*_ day of March, 2016.

OUGCAS J. CLEVELAND

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2016.

 

 

MICHAEL A. KASPEREK
Public - Notary Seal

of Missouri
Commissioned for Sta Louls a
My Comm

es: September 29, 2017
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